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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
JONESBORO DIVISION

MICHAE,L D. ALCORN and
MILDRED A. ALCORN Pl.AINTIFFS

vS. No. 3;13-CV-00182 (JLM/BD)
UNITED STATES OF AMERICA;
GEOR,GE K. COVERT, M.D.;

JESSIC.A ANN .`!()I~HEL,`H~~/Iy MQD.;. 1
JGHN DUE 1; JOHN DOE 2; and§ .'I'OHN 'DC)H 3 DEFENDANTS

STIPULATION FOR DISMISSAL WITH PREJUDICE
REGARDING SEPARATE DEFENDANT. GEORGE COVERT. M.I).

Come the parties, by and through their eounsel, and Stipulate that the above-captioned case

Should be dismissed With prejudice as to separate defendant, George Covert, M.D.

DATEDthiS lbw+b' day OFMA[MM£ 20..15

Mr. Bobby McDaniel

` ` - ' ' MCDANIEL LAW FIRM

400 South Ma`m
Jonesboro, AR 72401

and

MI. Rodney Chedister
Attorney at .LaW

603 West Matthews Avenue
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FPM, WM

 

Paul McNeill
Attomeyfor Defendams

